Case 1:21-cv-00199-MSM-LDA Document 1-1 Filed 05/05/21 Page 1 of 10 PageID #: 5




        EXHIBIT A
         Case 1:21-cv-00199-MSM-LDA Document 1-1 Filed 05/05/21 Page 2 of 10 PageID #: 6




                                                             STATE OF ItHODE ISLAND
                  ,fusri~efyr,~'l~r~~{~e ~lc rcc~~~!{pnar
                                                                     SUPERXOR .COURT
                           ~ djjE tStiR:''
                             • .....,__~                                    SUNIMOATS

                                                                                       Civil,.Actio.n File I1Tumber
                                                                                      KC-2021-0285
      Plaintiff                                                                        Attorney for the Plaintiff or the Plaintiff
      Lynne Lougee                                                                     Scott P. Tierney
      V.                                                                              Atldress of :ihe Plaintiff's Attorney or the Plaintiff
      Allegiant Air LI.,C et.al,                                                       544 DOUGLAS AVE
      Defendant                                                                 . . .. PR ()VTDENCE.RI 02908

      Noe1..Tudicial Coniplex                                                       Nddress,af the Defendant              C►o~~         S4~ ~
      Kerit Court.ty                                           ~~        ~-         7 201 North Tbw:n Ceilter t~::                              ~       ~
     -222 Quaker Lane                                        ~~          ~~ ,      ~L a; A'c ~~a,           ~    ~             a~a'~o2,~0~~ $ ~•~
      Warwick R1 02$86                                                                                          ~
      (401)~822-6900

~T ~' O THE.DEFENDANT, ~llegiatct i1►r I.,LC; ~~---                 ..
                                                                                           ~t~~4~
                                                                                                     a>,th~~
                                                                                                     ~ , if          ..    .
                                                                                                               )-.
                                                                                                      t4
          Thc ~bou tam~ed Pl~xl~~tft ;Ilas t,nou,aht ~an .t~t~rn~ aga~t)st u~~u ln~said Snpei~tor: t'~~urt ;in:.ih~~.countY~.:
                                          revti' ~, ojnitlonecj tn cl ~cqiE(l
                                                                         i~x to                              ft" uor)1Ly.
                                                                                         c tIhoil the Plaint~ti     tt       whost__
      addr&ss i, liyled above,  . Y
                                   an  ~z~s~~ er  to  ₹he ,con~platnt wiiicb )s,lie'
                                                                                   r etivith servcd upoz~ you;t~ itl~in t cnty i 2r}} ':
     .ddys.ai tcr serl ice oi' iht; Stiritmon;; itpon you. exclu,iv f t1 ,ayyvi sen~ice.
                                                                                                                                                    .
         lt. y.ou f~il. to..-do. So, 1tid,~iiiicnt hv.dcr~tult
                                                    ,..        -u~_ill ~(~c takcj*a .~~<<inst
                                                                                      -       yoii t~~r - nc c ~rclief~ d~;man~l~.d.ui t11e .-
      com.platnt"Ycittrahswer natst 2lso be fl1cd <<ith thc coiirt.
           As provided. in Rule 13(a) oi tli~. Supurwi~~Couit failcs oi t;iv~l Pru~~~lut~,, uttles5 tl3a ielief demand~ed in.
      ihe cotnplaint is for damage              qltt ofi ti oWt . ownership, ntatritenance, ~ipe~at;~zlt or control of a xnotor
      vekiucle, or uniess otherwtse..l»,tl v ided:iii Ru~e l3(a?> vour aiisweri n~txst starte as a~aunterclaim any relRted
      c.laim which. you inay have a izist th                  ; or yoti k~, i11 thcrL~aitci- bcI.~arred„fr' inaking such claim in
      any other action.

      This Sumznons was .generated on 3/31/2(12.1 ~                                    ; 4,` Ua~2zGtle,~~~gari



                                                        Witness the seal/watermark of the Superior Court




                                                                                                                                         4~1
      SC-CMS-1 (revised July 2020)
      Case 1:21-cv-00199-MSM-LDA Document 1-1 Filed 05/05/21 Page 3 of 10 PageID #: 7
~1




                                 _~,•~ ..T .. ~
                    ,)uetis`c ~,.~~tiwGpc irteisCe'~.~ 7ls}nur                  ,     ~   '       t               '


                                                                                              '       r
                                                                             SUPERIOR


 -Plaintiff                                                                                                       Civil -Actiou File Nu.mber
 Lyttrte Lougee                                                                                                   KC-2021-02,85
  V.
 Allegiant Air LLG et al.
 Defendant


                                                                             PROOF OF SERVICE
                                                                                                          ~
    J hereby certify tk~at on the clate below 1 5ez~r~ci a cop~T o~;tl~ts SumzYioxis, complaint, >✓angitage Assistance
 Notice; and all other required d4cuments'`reeciveci l~~t~with ,upo'n 71ie De£endant, Allegiant Air LLG,. liy
 delivering or leaving said paperF;i~rtl~e4fci~lo%x ing<~nazu1er:

       0 With the Defendant pei'5nr,:rliy.

       CI At. tlae Deferzdant's d~~~~~1~~~~ ~~f~urr ~       ii~ual place c~f~<~h~rlc=~i-ith ~a~per~~~n c~f tiit~ztable~ ag~ artid discretion.
           then residing therein.                     4`~~~~
                                                        ~`
          ..T~Tartae ofperfi~ttoFsuttit,lc
                                n          ~~~at3c~~t~ci~tf~,n
                                               ~ar        ,      r
                                                                       _ ---= --- - - --                 - ~                             --
                                           ci~ ~~,.~ral PX~icc r->t atao~#e -- ~- --         -                                       -

           Age ~
                                                                                                                                         §4~,


     ~CI VVith ari agent a~tthoni:Qti h} appoilnrneilr or hy Ia« ik, reCC t% L:;c,
          Nameofauthortz&:a6cr7t
          Ifthe agenC is one tlesi~at~d          liy st.jFute ti? tcceiv~
                                  ,. -~+ sa ~ o,~ ,
                                                                          ~~ rvice, furil?~r notiee
                                                                                             " e a.. ..
                                                                                                        as rc c}uireci by statute was. given
                                                            .   .   ...
          as noted below.

                                                                     t         k
                                                                         :
      [7 With a guardian or conservatar of,the 17efeud"arit.
         Name ofperson.and.designation;---                 --------                                           -

       ❑ By delivering said papers to the attorney general or anassistant attorney general if serving the state.

       O Upon a public corporation, body, or authority by delivering said papers to any officer, director, or
         manager.
          Name of person and designation


                                                                                    Page 1 of 2




 SC-CMS-1 (revised July 2020)
   Case 1:21-cv-00199-MSM-LDA Document 1-1 Filed 05/05/21 Page 4 of 10 PageID #: 8




                                               STA TE        !     R           OD              '   T

                                                        SUPERIORCOURT

   Upon a private corporation, domestic or foreign:
    ❑ By delivering said papers to an officer or a managing or general agent.
       Name of person and designation
    ❑ By leaving said papers at the office of the corporation with a person employed therein.
       Name of person and designation
    0 By delivering said papers to an agent authorized by appointinent or by law to receive service of process.
      Name of authorized agent
      If the agent is one designated by statute
                                             , to receive
                                                          service, further notice as required by statute was given
      as noted below.


   13. Y was :unable to make service ~Ifcei- che iolio«ring're ~, , nabl~ attempts
                                                                              .
                                                                                                           =.
                                                                                                       ,

                                                                           -            --                          _
S1✓RVICE DA'I'E;                       ~:      , ~,     . . ~~         ~        i ~5ERViC 1, h1;t~
                   Mont}t
Signature of SZIERIFF o~ pEYUTY'                 -RIPF ,C              STA'BISL.               ~
                                                                                    ti:I'e'
                                                      "rk ~ _ _                        tti'~
5~4r~1A~IJRE QF~PF;fZSU~~ t~THBR IH~2~7 A~1kEk1FF ot`L') 1~UTY ~Hk1~ll~l; 1~r CCSN~1Ak3L£~ivt.US'1 #~E
                                     ~,yf' ~

            u


Signature
                                      ,
State of                            AA
County of                      _
                                                                                                                ,
   L}n this             day of _----;                             ft---:
                                                                   re :~le, thc utid~,~tsign~d notary public, pexsonally
appeared.                              ~                                           O:-personally knoyvn to the notary
or 0 proved       to the notary :° thi )u 7h                                               identificatiou, which was
                                                           t be', t1ie' .person who signed above in my presenae,
and who swore or affirined to th,e notary that the coritents cif'the .docitmezit. a.r.e truehfui tQ the best oflxis or her
Imowiedge.

                                                                  Notary Public:
                                                                  1VIy conuriission expires:
                                                                  Notary identification number:


                                                                  Page 2 of 2




SC-CMS-1 (revised July 2020)
             Case 1:21-cv-00199-MSM-LDA Document 1-1 Filed 05/05/21 Page 5 of 10 PageID #: 9
Case Number: KC-2021-0285
Filed in Kent County Superior Court
Submitted: 3/31/2021 7:42 AM
Envelope: 3031074
Reviewer: Lindsay Z.



                   STATE OF RHODE ISLAND                               SUPERIOR COURT
                   KENT, SC

                   LYNNE LOUGEE

                   Vs.                                                 C.A. NO.

                    ALLEGIANT AIR, LLC, RHODE
                    ISLAND AIRPORT CORPORATION
                    and JOHN DOE CORP 1-5

                                                                COMPLAINT

                                                                  PARTIES

                             1.       Plaintiff, LYNNE LOUGEE, is a resident of the City of Taunton, County of

                   Bristol, and Commonwealth of Massachusetts.

                             2.       Defendant, ALLEGIANT AIR, LLC (hereinafter "ALLEGIANT"), upon

                   information and belief, is a Foreign Limited Liability Company with a principal office in the City

                   of Las Vegas, County of Clark and State of Nevada.

                             3.       Defendant, RHODE ISLAND AIRPORT CORPORATION (hereinafter "RIAC"),

                    upon information and belief, is a Rhode Island corporation with a principal office located in the

                   City of Warwick, County of Kent and State of Rhode Island.

                             4.       Defendant JOHN DOE CORP 1-5 is an unknown corporation that has yet to be

                    determined.

                                                              JURISDICTION

                             5.       The amount in controversy is sufficient to establish this Court's jurisdiction over

                   this action.

                                                                   VENUE

                             6.       Kent County Superior Court is the appropriate venue for this action.


                                                                       1
            Case 1:21-cv-00199-MSM-LDA Document 1-1 Filed 05/05/21 Page 6 of 10 PageID #: 10
Case Number: KC-2021-0285
Filed in Kent County Superior Court
Submitted: 3/31/2021 7:42 AM
Envelope: 3031074
Reviewer: Lindsay Z.



                                                           RELEVANT FACTS



                              7.      On or about May 7, 2018, and at all times material hereto, Defendant

                    ALLEGIANT was legally conducting business as an airline at TF Greene Airport located at

                    2000 Post Road, in the City of Warwick, County of Kent and State of Rhode Island. ("Subject

                    Premises") and was responsible for keeping and maintain the property within its control in a

                    reasonably safe condition.

                              8.      On or about May 7, 2018 and at all times material hereto, Plaintiff, LYNNE

                    LOUGEE, was an invitee and lawfully at the Subject Premises.

                              9.      At all times relevant hereto, Defendant RIAC was responsible for keeping and

                    maintaining the properry in a reasonably safe condition.

                              10.     On or about May 7, 2018, Plaintiff was exiting an airplane at the Subject

                    Premises, when she tripped and fell, due to an unreasonably dangerous condition.

                                                                      COUNTI

                                                             (Neglip-ence- ALLEGIANT)

                              11.     The prior paragraphs are incorporated by reference as if set forth herein in their

                    entirety.

                              12.     At all times relevant hereto, Plaintiff LYNNE LOUGEE was lawfully present on

                    the Subj ect Premises.

                              13.     At all times relevant hereto, Defendant ALLEGIANT owed Plaintiff a duty of

                    care to maintain the Subject Premises in a reasonably safe condition and to keep the Subject

                    Premises free from unreasonably dangerous conditions.



                                                                       2
            Case 1:21-cv-00199-MSM-LDA Document 1-1 Filed 05/05/21 Page 7 of 10 PageID #: 11
Case Number:4CC-2021-0285
Filed in Kent County Superior Court
Submitted: 3/31/2021 7:42 AM
Envelope: 3031074
Reviewer: Lindsay Z.



                             14.      Under the circumstances, Defendant ALLEGIANT knew or should have known

                    of the ground's unsafe, dangerous and/or defective condition.

                             15.      On or about May 7, 2018, and/or prior thereto, Defendant ALLEGIANT breached

                    said duty owed to Plaintiff in that it:

                                             a)      willfully and/or recklessly and/or negligently permitted and

                    allowed the Subject Premises to be and remain in said unsafe, dangerous and/or defective

                    condition;

                                             b)      willfully and/or recklessly and/or negligently failed to warn the

                    Plaintiff of said unsafe, dangerous and/or defective condition; and/or

                                             c)      willfully and/or recklessly and/or negligently failed to repair or

                    correct said unsafe, dangerous and/or defective condition.

                                16.   At all times relevant hereto, Plaintiff exercised due care under the circumstances.

                                17.   As a direct and proximate result of Defendant ALLEGIANT's breach, Plaintiff

                    sustained severe personal injuries, suffered extreme pain of the body and mind, incurred great

                    expenses for proper medical care and treatment, suffered a loss of enjoyment of life, and will

                    continue to suffer said injuries and incur said expenses in the future.

                              WHEREFORE, the Plaintiff, LYNNE LOUGEE, demands judgment against the

                    Defendant ALLEGIANT in a monetary amount sufficient to satisfy the jurisdiction of the

                    Superior Court, plus interest and costs.

                                                                  COUNTII

                                                                  (Negligence- RIAC)

                              18.     The prior paragraphs are incorporated by reference as if set forth herein in their

                    entirety.

                                                                       3
            Case 1:21-cv-00199-MSM-LDA Document 1-1 Filed 05/05/21 Page 8 of 10 PageID #: 12
Case Number: KC-2021-0285
Filed in Kent County Superior Court
Submitted: 3/31/2021 7:42 AM
Envelope: 3031074
Reviewer: Lindsay Z.



                             19.      At all times relevant hereto, Plaintiff LYNNE LOUGEE was lawfully present on

                    the Subj ect Premises.

                             20.      At all times relevant hereto, Defendant RIAC owed Plaintiff a duty of care to

                    maintain the Subject Premises in a reasonably safe condition and to keep the Subject Premises

                    free from unreasonably dangerous conditions.

                             21.      Under the circumstances, Defendant RIAC knew or should have known of the

                    ground's unsafe, dangerous and/or defective condition.

                             22.      On or about May 7, 2018, and/or prior thereto, Defendant RIAC breached said

                    duty owed to Plaintiff in that they:

                                             a)      willfully and/or recklessly and/or negligently permitted and

                    allowed the Subject Premises to be and remain in said unsafe, dangerous and/or defective

                    condition;

                                             b)      willfully and/or recklessly and/or negligently failed to warn the

                    Plaintiff of said unsafe, dangerous and/or defective condition; and/or

                                             c)      willfully and/or recklessly and/or negligently failed to repair or

                    correct said unsafe, dangerous and/or defective condition.

                               23.    At all times relevant hereto, Plaintiff exercised due care under the circumstances.

                               24.    As a direct and proximate result of Defendant RIAC's breach, Plaintiff sustained

                   severe personal injuries, suffered extreme pain of the body and mind, incurred great expenses for

                    proper medical care and treatment, suffered a loss of enjoyment of life, and will continue to

                   suffer said injuries and incur said expenses in the future.




                                                                       4
            Case 1:21-cv-00199-MSM-LDA Document 1-1 Filed 05/05/21 Page 9 of 10 PageID #: 13
CaseNumber: iCC-2021-0285
Filed in Kent County Superior Court
Submitted: 3/31/2021 7:42 AM
Envelope: 3031074
Reviewer: Lindsay Z.



                             WHEREFORE, the Plaintiff, LYNNE LOUGEE, demands judgment against the

                    Defendant RIAC in a monetary amount sufficient to satisfy the jurisdiction of the Superior

                    Court, plus interest and costs.



                                                                 COUNT III

                                                         (Neelieence- JOHN DOE CORP 1-5)

                              25.     The prior paragraphs are incorporated by reference as if set forth herein in their

                    entirety.

                              26.     At all times relevant hereto, Plaintiff LYNNE LOUGEE was lawfully present on

                    the Subject Premises.

                              27.     At all times relevant hereto, Defendants JOHN DOE CORP 1-5 owed Plaintiff a

                    duty of care to maintain the Subject Premises in a reasonably safe condition and to keep the

                    Subject Premises free from unreasonably dangerous conditions.

                              28.     Under the circumstances, Defendants JOHN DOE CORP 1-5 knew or should

                    have known of the ground's unsafe, dangerous and/or defective condition.

                              29.     On or about May 7, 2018, and/or prior thereto, Defendants JOHN DOE CORP 1-5

                    breached said duty owed to Plaintiffin that they:

                                             a)       willfully and/or recklessly and/or negligently permitted and

                    allowed the Subject Premises to be and remain in said unsafe, dangerous and/or defective

                    condition;

                                             b)       willfully and/or recklessly and/or negligently failed to warn the

                   Plaintiff of said unsafe, dangerous and/or defective condition; and/or



                                                                       5
           Case 1:21-cv-00199-MSM-LDA Document 1-1 Filed 05/05/21 Page 10 of 10 PageID #: 14
CaseNumber:KC-2021-0285
Filed in Kent County Superior Court
Submitted: 3/31/2021 7:42 AM
Envelope: 3031074
Reviewer: Lindsay Z.



                                             c)      willfully and/or recklessly and/or negligently failed to repair or

                    correct said tirisafe, dangerous and/or defective condition.

                               30.    At all times relevant hereto, Plaintiff exercised due care under the circumstances.

                                31. As a direct and proximate result of Defendants JOHN DOE CORP 1-5 is breach,

                    Plaintiff sustained severe persoiial injuries, suffered extreme pain of the body and mind, incurred

                    great expenses for proper medical care and treatment, suffered a loss of enjoyment of life, and

                    will continue to suffer said injuries arid incur said expenses in the future.

                              WHEREFORE, the Plaintiff, LYNNE LOUGEE, demands judgment against the

                    Defendants JOHN DOE CORP 1-5 in a monetary amount sufficient to satisfy the jurisdiction of

                    the Superior Court, plus interest and costs.



                              PLAINTIFFS HEREBY DEMAND TRIAL BY JURY.


                                                                     Plaintiff,
                                                                     By her Attorney,

                                                                     Rob Levine & Associates
                                                                                      ..~:..--~--y-•.




                                                                     Scott P. Tierney, Esq., #4624
                                                                     544 Douglas Avenue
                                                                     Providence, RI 02908
                                                                     (401)621-7000 (x150) Telephone
                                                                     (401)621-7050 Facsimile
                                                                     stierney@roblevine. com




                                                                        6
